Case 1:18-cV-00649-CI\/|H-I\/|SN Document 8 Filed 06/07/18 Page 1 of 2 Page|D# 44

l'v

IN TI'IE UN`I'I‘ED STATES DISTRIC'I_' COU'RT
FOR TI'[E EASTERN DISTRICT OF VIRGINIA

NATIONAL TREASURY EMPLOYEES UNION
1750 H Street, N,W.
Washington, D.C. 20006

PlaintiH,
v.

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DONALD J. TRU'MP, )
President of the United States, )
1600 Pennsylvania Avenue, N.W. ) No. 1318'cv'649 CMH/MSN
Washington, D.C. 20035, §
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)

and

JEFF T.H. PON,
Director of the OfEce of Personnel Management
1900 E Street, N.W.
Washington, D.C. 20415
Defendants.

 

Notice of Dismissal Pursuant to Rule 41

 

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), PlaintiH` National
Treasury Employees Union, hereby gives notice that the above captioned action is

voluntarily dismissed, without prejudice.

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Respectfully Submitted,

!sf Jonathan R. Mook

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Attorney for PlaintiH`

CEILTIFICATE OF SERVICE

I certify that, on June 6, 2018, l electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the Eaatern

District of Virginia through the CM)'ECF system. l further certify that service was

accomplished pursuant to the Court’s electronic filing procedures.

June 6, 2018

fs/ Jonathan R. Mook

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